
NYCHA Public Housing Preservation I, LLC, Petitioner-Landlord-Respondent, 
againstStephanie Resto, Respondent-Tenant-Appellant.



Tenant appeals from an order of the Civil Court of the City of New York, Bronx County, (Elizabeth J. Yalin Tao, J.), dated August 20, 2015, which denied her motion to compel landlord to furnish a supplemental bill of particulars in a holdover summary proceeding.




Per Curiam.
Order (Elizabeth J. Yalin Tao, J.), dated August 20, 2015, modified by directing landlord to furnish a further bill of particulars in response to items 1 and 2 of the demand within 30 days after service of a copy of this order with notice of entry; as modified, order affirmed, without costs.
Inasmuch as landlord's counsel provided less than unequivocal responses at oral argument to questions relating to the scope of the alleged illegal activities to be proven at trial, landlord is directed to furnish a further bill of particulars responsive to items 1 and 2 of the demand. The remaining items of the demand were either furnished or sought evidentiary matter not within the scope of a bill or particulars (see Colwin v Katz, 90 AD3d 516, 516-517 [2011]).
Since landlord conceded at oral argument that service of the notice of appeal was timely, the one day delay in the filing of the notice is excused (see CPLR 5520[a]; Messner v Messner, 42 AD2d 889 [1973]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: January 25, 2017










